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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    ANN H. VORIS, Bar #100433
     Assistant Federal Defender
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     2300 Tulare Street, Suite 330
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     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    CELIA SALLY MEZA
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )   NO. 1:06-cr-00288 OWW
                                                      )
12                          Plaintiff,                )   WAIVER OF DEFENDANT’S PERSONAL
                                                      )   PRESENCE AT PRETRIAL PROCEEDINGS;
13          v.                                        )   ORDER THEREON
                                                      )
14   CELIA SALLY MEZA,                                )
                                                      )
15                          Defendant.                )   Hon. Oliver W. Wanger
                                                      )
16                                                    )
17
18          Pursuant to F. R. Crim. P. 43(b)(2) and (3), Defendant hereby waives her right to be personally
19   present in open court upon the hearing of any non-substantive pretrial proceeding in this case.
20          Defendant hereby requests that this Court proceed in her absence on every occasion that the Court
21   may permit, pursuant to this waiver. She agrees that her interests shall be represented at all times by the
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23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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1    presence of her attorney, the Office of the Federal Defender for the Eastern District of California, the same
2    as if Defendant were personally present.
3            DATED: September            11 , 2006
4
5                                                          /s/ Celia Sally Meza
                                                          CELIA SALLY MEZA, Defendant
6
7
8                                                          /s/ Ann H. Voris
                                                          ANN H. VORIS
9                                                         Assistant Federal Defender
                                                          Attorney for Defendant
10
11
12
13                                                    ORDER
14           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s appearance may be
15   waived at any and all non-substantive pretrial proceedings until further order.
16   IT IS SO ORDERED.
17   Dated: September 12, 2006                            /s/ Oliver W. Wanger
     emm0d6                                          UNITED STATES DISTRICT JUDGE
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     W aiver of Defendant’s Personal Presence;
     [Proposed] Order Thereon                             -2-
